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 4
     Attorney for defendant,
 5   SHAWN GELEGAN
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,           )                   No. CRS 03-144 WBS
10                                       )
                 Plaintiff,              )                   STIPULATION AND ORDER
11                                       )                   CONTINUING JUDGMENT
                                         )                   AND SENTENCING DATE
12         v.                            )
                                         )
13   SHAWN GELEGAN, et al.,              )
                                         )
14               Defendants.             )
     ____________________________________)
15
     The parties hereby stipulate to the following:
16
        1.      This matter was previously set for judgment and sentencing on August 30,
17
                2006, at 9:00 a.m.
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        2.      The parties hereby stipulate that the judgment and sentencing date may be
19
                continued for the purpose of preparing and filing materials that relate to
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                the defendant’s sentencing. Thus, is hereby requested that the sentencing
21
                date be moved to September 13, 2006, at 9:00 a.m.
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23
        DATED: August 29, 2006                        /s/ Tim Warriner
24                                                    Attorney for defendant, SHAWN
                                                      GELEGAN
25
26      DATED: August 29, 2006                        /s/ Kymberly A. Smith,
                                                      Assistant U.S. Attorney
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 1
                                             ORDER
 2
            GOOD CAUSE APPEARING, it is hereby ordered that the judgment and
 3
     sentencing date be continued to September 13, 2006, at 9:00 a.m.
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 5   DATED: August 31, 2006
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